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                                      PUBLIC VERSION


             UNITED STATES COURT OF INTERNATIONAL TRADE
           BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
______________________________________________________________________________

                                   Court No. 22-00257
                               ________________________

                              CLEVELAND-CLIFFS INC.,
                                                       Plaintiff,

                                           and

                 NUCOR CORPORATION, STEEL DYNAMICS, INC.,
                    UNITED STATES STEEL CORPORATION,
                                                       Plaintiff-Intervenors,
                                            v.

                                      UNITED STATES,
                                                       Defendant,
                                           and

                   COMPANHIA SIDERURGICA NACIONAL S.A.,
               COMPANHIASIDERURGICA NACIONAL, LLC, USINAS
                SIDERURGICAS DE MINAS GERAIS S.A. USIMINAS,
                                                       Defendant-Intervenors.


    DEFENDANT UNITED STATES INTERNATIONAL TRADE COMMISSION’S
      MEMORANDUM IN OPPOSITION TO PLAINTIFF’S AND PLAINTIFF-
     INTERVENORS’ MOTION FOR JUDGMENT ON THE AGENCY RECORD


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DATED: JUNE 13, 2023
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Non-Oriented Electrical Steel from China, Germany, Japan, Korea, Sweden, and
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       Defendant U.S. International Trade Commission (“Commission”) hereby opposes the

motion for judgment upon the agency record filed by Plaintiff Cleveland-Cliffs, Inc. and

Plaintiff-Intervenors (collectively “Plaintiffs”). As discussed below, the Commission’s negative

five-year review (“sunset”) determinations concerning the antidumping and countervailing duty

orders on imports of cold-rolled steel flat products (“CRS”) from Brazil are supported by

substantial evidence and otherwise fully in accordance with law. We respectfully ask this Court

to affirm these determinations.

I.     STATEMENT PURSUANT TO RULE 56.2

       A.      Administrative Determination Sought to be Reviewed

       Plaintiffs seek review of the Commission’s negative determinations for Brazil in the five-

year reviews concerning Cold-Rolled Steel Flat Products from Brazil, China, India, Japan, South

Korea, and the United Kingdom, Inv. Nos. 701-TA-540-543 and 731-TA-1283-1287 (Review),

USITC Pub. 5339 (Aug. 2022) (PR300).1 The Commission published notice of the negative

determinations for Brazil on August 12, 2022. 87 Fed. Reg. 49,886 (PR298) (Aug. 12, 2022).2

As a result, the Department of Commerce (“Commerce”) revoked the antidumping and

countervailing duty orders on cold-rolled steel flat products from Brazil. 87 Fed. Reg. 52,360

(Dep’t of Commerce) (Aug. 25, 2022).




1
  Citations to the public record are indicated by “PR,” referring to list number 1 on the index of
the administrative record, and citations to the confidential record are indicated by “CR,”
referring to list number 2 on the index of the administrative record. Accordingly, citations to the
Commission’s public views and publication are to record document PR300, and citations to the
confidential Commission Views (hereinafter, “Views”) are to record document CR250.
2
  The Commission reached affirmative determinations with respect to China, India, Japan, South
Korea, and the United Kingdom. Only the Commission’s negative determinations for Brazil are
at issue in this appeal.

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       B.      Question Presented and Summary of Argument

               1.      Was the Commission’s Exercise of its Discretion Not to Cumulate
                       Subject Imports from Brazil with Subject Imports from China, India,
                       Japan, South Korea, and the United Kingdom Supported by
                       Substantial Evidence and in Accordance with Law?

       Yes. Under the statute, cumulation in five-year reviews is discretionary. 19

U.S.C. § 1675a(a)(7). The Commission has wide latitude in identifying factors that it may deem

relevant to its exercise of discretion whether to cumulate. The Commission identified numerous

differences in the conditions under which subject imports from Brazil would likely compete with

the other subject imports. The distinctions on which the Commission relied – which involve

factors such as trade restrictive measures, market presence, export orientation, and production –

are ones that the Commission’s reviewing courts previously have concluded can justify an

exercise of discretion not to cumulate.

       Contrary to Plaintiffs’ argument, there was nothing circular about the Commission’s

exercise of its discretion to not cumulate. Indeed, in each of the very cases relied on by

Plaintiffs, this Court has rejected similar arguments and affirmed the Commission’s exercise of

its discretion not to cumulate subject imports. See, e.g., Nucor Corp. v. United States, 33 CIT

157, 166-71, 605 F. Supp. 2d 1361, 1369-72 (2009); Allegheny Ludlum Corp. v. United States,

30 CIT 1995, 2002-05, 475 F. Supp. 2d 1370, 1378-81 (2006); Neenah Foundry Co. v. United

States, 25 CIT 702, 709-12, 155 F. Supp. 2d 766, 773-74 (2001). Moreover, Plaintiffs have not

shown that the Commission’s exercise of its discretion not to cumulate Brazil with the other

subject countries in these sunset reviews departed from any “past practice” of the agency,

especially since almost all of the prior Commission decisions cited by Plaintiffs did not even

involve cumulation let alone absolute quotas such as those involved here.

       Plaintiffs’ remaining arguments avoid the correct standard of review by impermissibly


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seeking to reweigh the evidence. Since the Commission’s findings were supported by substantial

evidence and in accordance with law, this Court should affirm the Commission’s negative

determinations for Brazil.

II.    STATEMENT OF FACTS

       A.      Procedural Background

       The Original Investigations. On July 28, 2015, Nucor Corporation (“Nucor”), Steel

Dynamics Inc. (“SDI”), United States Steel Corporation (“U.S. Steel”), AK Steel Corporation

(“AK Steel”), and ArcelorMittal USA LLC (“AMUSA”) filed antidumping duty petitions

regarding imports of CRS from Brazil, China, India, Japan, South Korea, Netherlands, Russia,

and the United Kingdom and countervailing duty petitions regarding imports of CRS from

Brazil, China, India, South Korea, and Russia. In July 2016, the Commission determined that a

domestic industry was materially injured by reason of imports of CRS from China and Japan

found by Commerce to be sold at less-than-fair-value (“LTFV” or “dumped”) and imports of

CRS from China found by Commerce to be subsidized.3 On July 14, 2016, Commerce published

the antidumping duty orders on imports of CRS from China and Japan and the countervailing

duty order on CRS from China.4 The Commission determined in September 2016 that a

domestic industry was materially injured by reason of LTFV imports of CRS from Brazil, India,

South Korea, and the United Kingdom and by subsidized imports of CRS from Brazil and South



3
 Cold-Rolled Steel Flat Products from China and Japan, Inv. Nos. 701-TA-541 and 731-TA-
1284 and 1286 (Final), USITC Pub. 4619 (July 2016) (“Original Determinations, USITC Pub.
4619”).
4
 Certain Cold-Rolled Steel Flat Products from Japan and the People’s Republic of China:
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Cold-Rolled Steel Flat Products from the People’s Republic of China: Countervailing Duty
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Korea, and was threatened with material injury by reason of subsidized imports of CRS from

India.5 On September 20, 2016, Commerce published the antidumping duty orders on imports of

CRS from Brazil, India, South Korea, and the United Kingdom and the countervailing duty

orders on CRS from Brazil, India, and South Korea.6

       Five-Year Reviews. On June 1, 2021, the Commission instituted five-year reviews

pursuant to 19 U.S.C. § 1675(c), to determine whether revocation of the antidumping and/or

countervailing duty orders on CRS from Brazil, China, India, Japan, South Korea, and the United

Kingdom would likely lead to the continuation or recurrence of material injury. In August of

2022, the Commission determined that revocation of the orders on CRS from China, India,

Japan, South Korea, and the United Kingdom would be likely to lead to continuation or

recurrence of material injury to an industry in the United States within a reasonably foreseeable

time. Views at 3-93. The Commission determined that revocation of the orders on CRS from

Brazil would not be likely to lead to continuation or recurrence of material injury to an industry

in the United States within a reasonably foreseeable time. Id. at 93-101.7 In accordance with



5
  Cold-Rolled Steel Flat Products from Brazil, India, Korea, Russia, and the United Kingdom,
Inv. Nos. 701-TA-540, 542-544 and 731-TA-1283, 1285, 1287 and 1289-1290 (Final), USITC
Pub. 4637 (Sept. 2016) (“Original Determinations, USITC Pub. 4637”).
6
 Certain Cold-Rolled Steel Flat Products from Brazil, India, the Republic of Korea, and the
United Kingdom: Amended Final Affirmative Antidumping Determinations for Brazil and the
United Kingdom and Antidumping Duty Orders, 81 Fed. Reg. 64,432 (Dep’t of Commerce)
(Sept. 20, 2016); Certain Cold-Rolled Steel Flat Products from Brazil, India, and the Republic of
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Duty Order (the Republic of Korea) and Countervailing Duty Orders (Brazil and India), 81 Fed.
Reg. 64,436 (Dep’t of Commerce) (Sept. 20, 2016).
7
  Commissioners Rhonda K. Schmidtlein and Randolph J. Stayin dissented. Commissioners
Schmidtlein and Stayin determined that revocation of the countervailing duty orders on CRS
from Brazil, China, India, and South Korea and the antidumping duty orders on CRS from
Brazil, China, India, Japan, South Korea, and the United Kingdom would be likely to lead to
continuation or recurrence of material injury to an industry in the United States within a
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those findings, Commerce published notice of revocation of the orders with respect to Brazil; the

orders with respect to China, India, Japan, South Korea, and the United Kingdom remain in

place. 87 Fed. Reg. 52,360.

       B.      Summary of Commission Views

       This appeal arises from the first five-year reviews of the antidumping and countervailing

duty orders on CRS from six subject countries: Brazil, China, India, Japan, South Korea, and the

United Kingdom. The Commission exercised its discretion not to cumulate subject imports from

Brazil with the other five subject countries because it found that different conditions of

competition were likely to prevail for subject imports from Brazil compared to subject imports

from all other subject sources. Specifically, the Commission found that, while several of the

subject countries were subject to quota exemptions from the additional tariffs imposed under

Section 232 of the Trade Expansion Act of 1962, as amended,8 the Section 232 absolute quota

for Brazil was different in significant respects from the trade restrictive measures covering the

other five subject countries. Views at 58-61, 63. As a result of these differences, the

Commission found that subject imports from Brazil were not likely to be able to compete in the

U.S. market for much larger sales volumes as imports from all other subject sources. Id. Even

more specifically, the Commission addressed the differences between imports from Brazil and

those from the one other country – South Korea – also subject to an absolute quota limit. In this

regard, the Commission noted that there were differences in likely conditions of competition




reasonably foreseeable time. See Separate and Dissenting Views of Commissioners Schmidtlein
and Stayin, at 1-7 (CR251).
8
  19 U.S.C. § 1862. See Staff Report, at I-33–39 (CR240), detailing imposition of Section 232
duties on steel imports, including CRS.

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between the CRS industries in Brazil and South Korea in terms of their presence in the U.S.

market, their export-orientation, and their production capabilities. Id. at 59-63.

        After exercising its discretion not to cumulate subject imports from Brazil with subject

imports from the other five subject countries, the Commission turned to its likely injury analysis

for Brazil. The Commission determined that revocation of the orders on subject imports from

Brazil would not be likely to lead to the continuation or recurrence of material injury to the

domestic industry in the reasonably foreseeable future. The Commission found that: (i) subject

imports from Brazil were not likely to enter the United States in significant volumes within a

reasonably foreseeable time if the orders were revoked; (ii) revocation of the orders likely would

not lead to significant underselling by subject imports from Brazil, or to significant price

depression or suppression, within a reasonably foreseeable time; and (iii) revocation of the orders

on Brazil was not likely to have a significant impact on the domestic industry. Id. at 93-101.

        On appeal, Plaintiffs challenge only the Commission’s exercise of its discretion not to

cumulate subject imports from Brazil. Plaintiffs do not challenge any aspect of the

Commission’s negative determination for Brazil on an individual-country basis, including its

likely volume, likely price effects, and likely impact findings for Brazil only. Accordingly, this

brief focuses on the issues pertaining to the Commission’s discretionary cumulation analysis for

Brazil that Plaintiffs are contesting.




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III.   STANDARD OF REVIEW

       As an overarching matter, Plaintiffs’ attacks upon the Commission’s determinations

depend upon an improper application of the applicable standard of review. That is, Plaintiffs

essentially ask this Court to serve as a “sixth Commissioner” and overrule the reasonable factual

findings made, and methodology employed, by the Commission. For example, Plaintiffs

repeatedly refer to the Commission’s determination as the “majority” determination, and

Plaintiffs cite to their preferred findings of the dissenting Commissioners. The fact, however, is

that, by statute, the views of the Commission majority – here the affirmative material injury

determination – constitutes the determination of the Commission. See, e.g., Siemens Energy, Inc.

v. United States, 806 F. 3d 1367, 1368 (Fed. Cir. 2015). It is that determination that is to be

reviewed by this Court for reasonableness and lawfulness. In doing so, however, it is not the role

of the Court to weigh the Commission’s determination against the dissenting views and choose

the conclusion that it might prefer. That the dissenting Commissioners, or this Court, or

Plaintiffs, may have weighed the evidence differently, does not provide grounds to overrule the

Commission’s determination. Indeed, “{a}lthough individual Commissioners reach{} divergent

conclusions, ‘{t}he possibility of drawing two inconsistent conclusions from the evidence does

not prevent an administrative agency’s finding{s} from being supported by substantial

evidence.’” Id. at 1372 (quoting Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 620 (1966)); see

also Grupo Indus. Camesa v. United States, 85 F.3d 1577, 1582 (Fed. Cir. 1996) (“Although {a

party} points to evidence supporting the dissenting commissioners’ decision that the domestic

industry was not materially injured, this does not mean that the Commission’s affirmative

determination is unsupported by substantial evidence.”) (citing Consolo, 383 U.S. at 619-20).




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       Throughout its brief, Plaintiffs overlook that, under the substantial evidence standard, a

Court may not, “even as to matters not requiring expertise ... displace the {agency’s} choice

between two fairly conflicting views, even though the court would justifiably have made a

different choice had the matter been before it de novo.” Universal Camera Corp. v. NLRB, 340

U.S. 474, 488 (1951); accord Grupo Indus. Camesa, 85 F.3d at 1582.9 Despite Plaintiffs’

efforts, the Court “may not reweigh the evidence or substitute its own judgment for that of the

agency.” Usinor v. United States, 28 CIT 1107, 1111, 342 F. Supp. 2d 1267, 1272 (2004); Coal.

of Gulf Shrimp Indus. v. United States, 71 F. Supp. 3d 1356, 1361 (Ct. Int’l Trade 2015) (quoting

Usinor, 28 CIT at 1111, 342 F. Supp. 2d at 1272).

       Moreover, “{i}t is the Commission’s task to evaluate the evidence it collects during its

investigation” and “{c}ertain decisions, such as the weight to be assigned a particular piece of

evidence, lie at the core of that evaluative process.” U.S. Steel Grp. v. United States, 96 F.3d

1352, 1357 (Fed. Cir. 1996); Nippon Steel Corp. v. United States, 458 F.3d 1345, 1350 (Fed. Cir.

2006) (quoting U.S. Steel Grp., 96 F.3d at 1357). In its role as trier of fact in injury

investigations, “the Commission ‘has the discretion to make reasonable interpretations of the

evidence and to determine the overall significance of any particular factor in its analysis.’”

Nevinnomysskiy Azot v. United States, 32 CIT 642, 653, 565 F. Supp. 2d 1357, 1367-68 (2008)

(quoting Goss Graphics Sys., Inc. v. United States, 22 CIT 983, 1004, 33 F. Supp. 2d 1082, 1100

(1998), aff’d, 216 F.3d 1357 (Fed. Cir. 2000)). As the Federal Circuit has stated, if “the totality

of the evidence does not illuminate a black-and-white answer to a disputed issue, it is the role of



9
 Even if one or more subsidiary findings of the Commission are unsupported by substantial
evidence, the Court must still assess whether the remaining evidence cited by the Commission
provides substantial evidence for the Commission’s determinations. See U.S. Steel Grp. v.
United States, 96 F.3d 1352, 1357 (Fed. Cir. 1996).

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the expert factfinder – here the majority of the Presidentially-appointed, Senate-approved

Commissioners – to decide which side’s evidence to believe.” Nippon Steel, 458 F.3d at 1359.

“Congress has allocated to the Commission the task of making these complex determinations,”

the Federal Circuit has explained, and “{o}urs is only to review those decisions for

reasonableness.” U.S. Steel Grp., 96 F.3d at 1357.

       Notwithstanding these established principles, Plaintiffs ignore the record support for the

Commission’s actual factual findings or overlook the agency’s reasons for making these

findings. At most, Plaintiffs point to evidence – invariably considered and rejected by the ITC in

its opinion – that could have supported a factual finding contrary to the one the agency made. In

the end, it is neither “surprising nor persuasive” that Plaintiffs can point to evidence “which

detracts from the evidence which supports the Commission’s decision” or can “hypothesize a

reasonable basis for a contrary determination.” Matsushita Elec. Indus., Ltd. v. United States,

750 F.2d 927, 936 (Fed. Cir. 1984).

IV.    ARGUMENT

       A.      The Commission Reasonably Declined to Cumulate All Subject Imports

               1.      Cumulation Is Discretionary in Five-Year Reviews

                       a.      Relevant Statutory Provision

       As Plaintiffs acknowledge, the statute is explicit that cumulation in five-year reviews is

discretionary. Thus, the statute states that:

               the Commission may cumulatively assess the volume and effect of
               imports of the subject merchandise from all countries with respect
               to which reviews under section 1675(b) or (c) of this title were
               initiated on the same day, if such imports would be likely to compete
               with each other and with domestic like products in the United States
               market. The Commission shall not cumulatively assess the volume
               and effects of imports of the subject merchandise in a case in which
               it determines that such imports are likely to have no discernible

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               adverse impact on the domestic industry.

19 U.S.C. § 1675a(a)(7) (emphasis added).10 The Statement of Administrative Action (“SAA”)

to the Uruguay Round Agreements Act emphasizes that, by use of the word “may,” “section

752(a)(7) grants the Commission the discretion to engage in a cumulative analysis.” H.R. Rep.

103-316, vol. I at 887 (1994) (emphasis added). By contrast, in instances where Congress

wanted to mandate cumulation where certain conditions were met, it said so explicitly, such as in

requiring in present material injury analyses in original investigations that “the Commission shall

cumulatively assess the volume and effect of imports of the subject merchandise.” 19 U.S.C.

§ 1677(7)(G)(i).11

       Neither the statute nor the legislative history provides any guidance on the factors the

Commission may consider in exercising its discretion in five-year reviews whether to cumulate

subject imports. See Neenah, 25 CIT at 709, 155 F. Supp. 2d at 772. Consequently, the

Commission’s reviewing courts have given the Commission “wide latitude” in identifying the

relevant factors for discretionary cumulation in sunset reviews. Allegheny Ludlum, 30 CIT at

2002-05, 475 F. Supp. 2d at 1378-80 (“{D}iscretionary cumulation does not preclude the


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  As Plaintiffs note (Pl. Br. at 20), in these reviews, the Commission did not find that any of the
subject countries were precluded from cumulation because they are likely to have no discernible
adverse impact on the domestic industry. See Views at 26-50. The second sentence of the
above-quoted statutory provision therefore is not at issue in this appeal.
11
  Similar to the forward-looking analysis in sunset reviews, the statutory provision governing
cumulation for threat analysis in original investigations likewise states that “the Commission
may cumulatively assess the volume and price effects of imports” under certain circumstances.
19 U.S.C. § 1677(7)(H) (emphasis added). Cumulation is discretionary for forward-looking
analyses such as five-year reviews and threat determinations for practical reasons, vis, because
combining trends for different subject countries on a prospective basis has proved difficult. See,
e.g., Cogne Acciai Speciali S.P.A. v. United States, 29 CIT 1168, 1185 (2005) (acknowledging
“the {ITC’s} difficult task of predicting what would be likely to happen in the event of
revocation of the antidumping duty orders); accord Ad Hoc Comm. of Domestic Uranium
Producers v. United States, 25 CIT 1010, 1014, 162 F. Supp. 2d 649, 654 (2001).

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Commission from considering any factors it considers relevant.”). And, consistent with the plain

language of the statute and legislative history, both the Federal Circuit and this Court have held

that the Commission ultimately retains statutory discretion in sunset reviews not to cumulate

subject imports from all countries even if both the threshold requirements for cumulation of

discernible adverse impact and likely reasonable overlap in competition are satisfied. See, e.g.,

Nucor Corp. v. United States, 601 F.3d 1291, 1293 (Fed. Cir. 2010) (“Even if the subject imports

meet the statutory elements of cumulation, the ITC has discretion not to cumulate them in a

sunset review.”); Allegheny Ludlum, 30 CIT at 2002-03, 475 F. Supp. 2d at 1378

(“{C}umulation, pursuant to the statute, is discretionary once the threshold requirements of

§ 1675a(a)(7) have been met.”).

                       b.     Plaintiffs Seek to Impose a Requirement for Cumulation in
                              Certain Sunset Reviews

       Examination of likely similarities and distinctions in conditions of competition has for

many years been a regular part of the Commission’s analysis in five-year reviews of whether or

not to exercise its discretion to cumulate subject imports. See Nucor, 601 F.3d at 1296;

Allegheny Ludlum, 30 CIT at 2004-05, 475 F. Supp. 2d at 1380. Indeed, both the Federal Circuit

and this Court have confirmed that the Commission may consider likely differing conditions of

competition among subject imports from different subject countries in exercising its discretion

not to cumulate all subject imports in sunset reviews. See, e.g., Nucor, 601 F.3d at 1295-96; U.S.

Steel Corp. v. United States, 36 CIT 1172, 1174-78, 856 F. Supp. 2d 1318, 1322-24 (2012);

Nucor, 33 CIT at 167-68, 605 F. Supp. 2d at 1370; Nucor Corp. v. United States, 32 CIT 1380,

1407-15, 594 F. Supp. 2d 1320, 1350-56 (2008); U.S. Steel Corp. v. United States, 32 CIT 832,

572 F. Supp. 2d 1334 (2008); Allegheny Ludlum, 30 CIT at 1998-2006, 475 F. Supp. 2d at 1375-




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1381; Domestic Uranium Producers, 25 CIT at 1014, 162 F. Supp. 2d at 654; Neenah, 25 CIT at

709-12, 155 F. Supp. 2d at 772-74.

       While Plaintiffs pay lip service to the discretionary nature of cumulation in sunset

reviews, their arguments suggest otherwise. Consequently, the statute and case law provide the

Commission far more discretion in determining whether to cumulate subject imports in a five-

year review than Plaintiffs contend. Plaintiffs intimate that the Commission must cumulate

subject imports in a five-year review unless it finds no likely reasonable overlap of competition

or unless it finds that revocation of an order will have no likely discernible adverse impact.

See Pl. Br. at 22-23. In these instances, however, the statute outright precludes the ITC from

cumulating subject imports. See 19 U.S.C. § 1675a(a)(7). The statutory grant of discretion

would be meaningless if the Commission could decline to cumulate subject imports in sunset

reviews only in those circumstances where the statute did not permit cumulation under any

circumstances. Notably, this Court previously has rejected a similar argument explaining that, if

such an argument were true,

               then the Commission could never determine not to cumulate when
               the two requirements are met. Such a reading of the statute is
               untenable as it would be contrary to the plain language of the
               cumulation provision and would destroy any actual discretion of the
               Commission.

Nucor Corp. v. United States, 32 CIT 751, 758, 569 F. Supp. 2d 1328, 1338 (2008) By the same

token, although the ability to cumulate enables the Commission to address any likely

“hammering effect” of unfairly traded imports on the industry as part of its analysis, see Neenah,

25 CIT at 708-09, 155 F. Supp. 2d at 772, the “hammering effect” principle referenced by

Plaintiffs (Pl. Br. at 21-22) neither mandates that the Commission cumulate all imports subject to

review nor negates the discretionary nature of cumulation in five-year reviews consistent with



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the plain language of the statute, legislative history, and caselaw discussed above.

       B.      The Commission’s Decision Not to Cumulate Subject Imports from Brazil
               with Subject Imports from China, India, Japan, South Korea, and the United
               Kingdom Was Supported by Substantial Evidence and in Accordance with
               Law

               1.      Substantial Evidence Supports the Commission’s Findings
                       Underlying Its Determination Not to Cumulate the Imports from
                       Brazil with the Imports from the Other Subject Countries

       The Commission found several meaningful differences in likely conditions of

competition between subject imports from Brazil, on the one hand, and subject imports from

China, India, Japan, South Korea, and the United Kingdom on the other. In light of these likely

differences, its decision not to exercise its discretion to cumulate subject imports from Brazil

with subject imports from the other five subject countries was reasonable.

       One of the differences in likely conditions of competition stemmed from the fact that

subject imports from Brazil had an absolute quota which distinguished it from the other subject

countries. That subject imports from Brazil had a hard cap on annual volume under the Section

232 absolute quota but subject imports from China, India, Japan, and the United Kingdom had no

hard cap at all meant that the Brazilian CRS industry had a restraining factor for likely volume

that these other four subject countries did not have, thereby rendering Brazil unlikely to be able

compete with them for much larger sales volumes. Views at 58-59, 61. As the Commission

found, the Section 232 absolute quota on Brazil acted as an “absolute cap” on the annual volume

of subject imports from Brazil. Id. at 59. By contrast, four of the other five subject countries

(China, India, Japan, and the United Kingdom) did not have an absolute quota. Id. That is,

subject imports from China and India were subject to 25 percent ad valorem tariffs without any

quota limits. Id. at 59 & n.301. As the Commission also found, subject imports from Japan and

the United Kingdom had tariff rate quotas (“TRQs”), but these TRQs were not a hard cap on

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volume like the absolute quota for Brazil; instead, the TRQs for Japan and the United Kingdom

permitted “unlimited volumes of subject imports from each of these subject countries to enter the

United States with 25 percent section 232 duty rates applied for any volumes in excess of the

TRQ limits.” Id. at 59 & nn.302-03. Given these differences in likely conditions of competition,

the Commission found that subject imports from Brazil were not likely to be able to compete in

the same manner in the U.S. market for much larger sales volumes as subject imports from

China, India, Japan, and the United Kingdom. Id. at 58-59, 61.

       The Commission also considered whether subject imports from Brazil and South Korea,

the fifth and sole remaining subject country, were likely to compete under similar conditions of

competition. The Commission recognized that subject imports from Brazil and South Korea

were both subject to Section 232 absolute quotas. Id. at 59. The Commission explained,

however, that the absolute quota on subject imports from South Korea was “almost three times

larger than the absolute quota for subject imports from Brazil.” Id. at 60. Further, the annual

absolute quota on subject imports from South Korea was 141,018 short tons (equivalent to 0.5

percent of apparent U.S. consumption in 2021), whereas the annual absolute quota on subject

imports from Brazil was only 57,251 short tons (equivalent to 0.2 percent of apparent U.S.

consumption in 2021). Id.

       In addition to differences in their absolute quota limits, the Commission explained that

subject imports from Brazil and South Korea had disparities in terms of their presence in the U.S.

market since the imposition of the orders. While subject imports from South Korea “approached

their quota limit” and “maintained a substantial presence in the U.S. market throughout the POR

{period of review},” subject imports from Brazil “remained well below their much smaller quota




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limit and were virtually absent from the U.S. market during the POR.” Id. at 60 & nn.305, 306.12

        Additionally, the Commission cited differences in export-orientation between the CRS in

industries in Brazil and South Korea. Id. at 60 n.307. The Commission reasonably found that

the Brazilian industry was less export-oriented than the South Korean industry. Id. As the

Commission found, the publicly available Global Trade Atlas (“GTA”) data indicated that South

Korea was the second-largest exporter of CRS in 2021 and that the South Korean’s CRS exports

in 2021, at 6.6 million short tons, were much larger than the Brazilian industry’s CRS exports, at

229,193 short tons. Id. Although the foreign producer questionnaire coverage for South Korea

was more limited than for Brazil, even the limited data that were reported for South Korea

reflected a larger volume of exports from South Korea. The South Korean industry’s reported

exports of CRS ranged from [          ] short tons to [       ] short tons during the POR while

the Brazilian industry’s more complete reported exports of CRS ranged only from [            ]

short tons to [       ] short tons. Id. Based on this comparison, the Commission reasonably

found that the questionnaire data corroborated the GTA data showing that the Brazilian CRS



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   As the Commission found, the volume of subject imports from South Korea were [              ]
short tons in 2016, [        ] short tons in 2017, [      ] short tons in 2018, [     ] short tons
in 2019, [        ] short tons in 2020, and [        ] short tons in 2021. Views at 60 n.305. As
the Commission also found, information available suggests that the quota for South Korea was
mostly filled in 2021. Id. More specifically, the Commission found that South Korea’s annual
quota usage rates for HTS statistical reporting numbers containing CRS products were the
following in 2021: HTS 9903.80.08 (94 percent of 90,336,230 kg filled), HTS 9903.80.09 (83
percent of 3,207,110 kg filled), HTS 9903.80.10 (94 percent of 34,385,821 kg filled). Id. By
comparison, the Commission found that the volume of subject imports from Brazil ranged from a
low of 107 short tons in 2018 to a high of 8,775 short tons in 2019, and it was 778 short tons in
2021. Id. at 60 n.306. As the Commission also found, the record information suggested that,
unlike South Korea, the Section 232 absolute quota for Brazil was mostly not filled in 2021.
Brazil’s annual quota usage rates for HTS statistical reporting numbers containing CRS products
were the following in 2021: HTS 9903.80.08 (1 percent of 51,717,234 kg filled), HTS
9903.80.09 (75 percent of 32,839 kg filled), HTS 9903.80.10 (0 percent of 0 kg filled). Id. at 59
n.300.

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industry was less export-oriented that the South Korean industry during the POR.

       Finally, the Commission cited differences in production between the CRS industries in

Brazil and South Korea. As the Commission found, the available record information indicated

that the Brazilian industry has substantially less production than the South Korean industry

during the POR. Id. at 60-61 n.307. The Brazilian industry’s production of cold-rolled steel

during the 2018-2020 period ranged between [              ] short tons and [              ] short tons,

whereas the South Korean industry’s production of cold-rolled steel during this period was much

higher, ranging between [             ] and [            ] short tons. Id. at 61 n.307.

       Given these myriad significant differences, including quota limits, differing degrees of

presence in the U.S. market, lack of Brazilian export-orientation, and less Brazilian production

capabilities, the Commission found that subject imports from Brazil were not likely to be able to

compete in the same manner in the U.S. market for much larger sales volumes as were subject

imports from South Korea. Id. at 60-61.

       All of these factual findings – none of which are challenged per se by Plaintiffs –

provide substantial evidence for the Commission’s exercise of its discretion not to cumulate

subject imports from Brazil with each of the other five subject countries. See, e.g., Nippon Steel,

458 F.3d at 1359.

               2.     The Commission’s Reliance on the Differences in Conditions of
                      Competition to Decline to Cumulate in a Sunset Review Has Been
                      Upheld by the Reviewing Courts

       Plaintiffs do not dispute that the Commission’s reviewing courts have endorsed the

Commission’s reliance on differences in likely conditions of competition in exercising its

discretion not to cumulate in sunset reviews. Indeed, both the Federal Circuit and this Court

have affirmed the Commission in prior sunset reviews where the Commission relied on factors



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like those it relied upon here in exercising its discretion not to cumulate subject imports from

Brazil, including differences in trade restrictive measures, market presence, export-orientation,

and production. See, e.g., Nucor, 601 F.3d at 1294, 1296-97 (differences in market presence

and export-orientation); U.S. Steel, 36 CIT at 1174-78, 856 F. Supp. 2d at 1322-24

(differences in market presence and export-orientation); Nucor, 32 CIT at 1412-14, 594 F.

Supp. 2d at 1354-55 (differences in market presence, export-orientation, and production),

aff’d, 601 F.3d at 1294-97; U.S. Steel Corp., 32 CIT at 835-36, 572 F. Supp. 2d at 1341

(differences in market presence, production capabilities, and capacity utilization); Nucor, 32

CIT at 763-65, 569 F. Supp. 2d at 1342 (differences in tariff barriers); Allegheny Ludlum, 30

CIT at 2002-05, 475 F. Supp. 2d at 1378-81 (differences in market presence and production

capacity); Domestic Uranium Producers, 25 CIT at 1013-14, 162 F. Supp. 2d at 653-54

(differences in trade restricting measures, market presence, and production capacity); Neenah,

25 CIT at 709-12, 155 F. Supp. 2d at 773-74 (differences in market presence).

       C.      Plaintiffs Have Failed to Show that the Commission Erred in Exercising Its
               Discretion Not to Cumulate Subject Imports from Brazil

               1.      Plaintiffs’ Circularity Argument Does Not Withstand Scrutiny and
                       Has Been Previously Rejected by this Court

                       a.      Plaintiffs’ Circularity Argument Ignores the Commission’s
                               Actual Factual Findings and Analysis

       Plaintiffs argue, incorrectly, that the Commission required proof of likely injury as a

prerequisite for cumulation for Brazil. See Pl. Br. at 22-24. Plaintiffs ignore that it was only

after exercising its discretion not to cumulate Brazil based on differences in likely conditions of

competition that the Commission performed a comprehensive likely injury analysis for Brazil

and ultimately reached a negative injury determination. Views at 93-101. Similarly, Plaintiffs

overlook that before analyzing whether the likely conditions of competition supported

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cumulation, the Commission performed the separate statutorily contemplated analysis in which it

first determined that revocation of the orders on Brazil would not likely have no discernible

adverse impact on the U.S. industry. Id. at 26-31.

       Turning to the next step of its analysis, the Commission properly considered whether to

exercise its discretion to cumulate based on an examination of likely conditions of competition.

Contrary to Plaintiffs’ contentions (Pl. Br. at 25-27), the Commission did not rely only on

absolute small volumes for Brazil or on the low quota for imports from Brazil in exercising its

discretion not to cumulate Brazil with China, India, Japan, and the United Kingdom. Instead, the

Commission found that the Section 232 absolute quota for Brazil was different from the trade

restrictive measures for China, India, Japan, and the United Kingdom. As the Commission

found, the Section 232 absolute quota on Brazil acted as an “absolute cap” on the annual volume

of subject imports from Brazil. Views at 59. By contrast, as discussed above, China, India,

Japan, and the United Kingdom did not have an absolute quota. Id. Subject imports from China

and India were subject to 25 percent ad valorem tariffs without any quota limits. Id. at 59 &

n.301. Subject imports from Japan and the United Kingdom had tariff rate quotas (“TRQs”), but

these TRQs were not a hard cap on volume like the absolute quota for Brazil; instead, the TRQs

for Japan and the United Kingdom permitted “unlimited volumes of subject imports from each of

these subject countries to enter the United States with 25 percent section 232 duty rates applied

for any volumes in excess of the TRQ limits.” Id. a 59 & nn.302, 303. In short, the Section 232

absolute quota for Brazil meant that the Brazilian industry had a factor restraining likely subject

import volumes – a hard cap on annual volumes – that the industries in China, India, Japan, and

the United Kingdom did not have.

       Equally unavailing is Plaintiffs’ argument that the Commission relied almost exclusively



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on absolute small volumes in exercising its discretion not to cumulate subject imports from

Brazil and South Korea. See Pl. Br. at 27-31.13 As discussed above, the Commission found that

there were differences in the trade restrictive measures for Brazil and South Korea. Views at 59-

60. The Commission explained that the absolute quota on subject imports from South Korea was

almost three times larger than the absolute quota for subject imports from Brazil. Id. at 60. In

addition, the Commission discussed disparities in terms of the presence of the respective subject

imports from Brazil and South Korea in the U.S. market since the imposition of the orders, with

subject imports from South Korea maintaining a substantial presence in the U.S. market

throughout the POR while subject imports from Brazil remaining virtually absent from the U.S.

market during the POR. Id. at 60 & nn.305, 306. Moreover, the Commission cited differences

in export-orientation and production between the CRS industries in Brazil and South Korea, with

information available indicating that the Brazilian industry was less export-oriented and had less

production than the South Korean industry. Id. at 60-61 n.307. Given these numerous

differences in likely conditions of competition, the Commission found that subject imports from

Brazil were not likely to be able to compete in the same manner in the U.S. market for much

larger sales volumes as subject imports from South Korea. Id. at 61. Especially since the



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   By arguing that the Commission relied “almost exclusively” on small volumes in deciding not
to cumulate Brazil and South Korea, Plaintiffs appear to concede that the Commission relied on a
combination of factors rather than only small volumes for deciding not to cumulate Brazil and
South Korea. Pl. Br. at 3, 29. Plaintiffs’ complaint that the Commission discussed some of these
factors in a footnote rather than the text (id. at 29) misses the point that the analysis in the
footnote also provides substantial evidence for the Commission’s exercise of its discretion not to
cumulate Brazil and South Korea. See, e.g., Am. Bearing Mfrs. Ass’n v. United States, 28 CIT
1698, 1702-03, 350 F. Supp. 2d 1100, 1106-07 (2004) (rejecting plaintiff’s argument that the
Commission’s determination was unsupported by substantial evidence because the Commission
had “relegated its discussion of volume by unit-quantity to a footnote” and concluding “the fact
that references to quantity data appeared in footnotes does not detract from their discussion by
the ITC.”) (quotations omitted).

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Commission relied on a combination of factors for exercising its discretion not to cumulate

Brazil and South Korea, Plaintiff’s argument that the Commission relied on small absolute

volumes alone should be rejected, much like this Court rejected a similar argument in Allegheny

Ludlum. 30 CIT at 2003-04, 475 F. Supp. 2d at 1379.

       In the end, Plaintiffs’ circularity argument amounts to another attempt to reweigh the

evidence. See Pl. Br. at 29-31. As discussed above, the Commission relied upon a combination

of factors in exercising its discretion not to cumulate subject imports from Brazil and South

Korea. In addition to differences in quota limits and market presence, the Commission cited

differences in export-orientation and production between the Brazilian and South Korean CRS

industries in exercising its discretion not to cumulate Brazil and South Korea. Views at 59-61.

As the courts have consistently found, where, as here, substantial evidence supports the

Commission’s determination that determination must be upheld, even if the court might have

weighed the evidence differently. See, e.g., Altx, Inc. v. United States, 25 CIT 1100, 1104, 167

F. Supp. 2d 1353, 1361 n.9 (2001); Nucor Corp. v. United States, 28 CIT 188, 232, 318 F. Supp.

2d 1207, 1246 (2004). Regardless of whether the Brazilian and South Korean industries both

exported and produced more than their Section 232 quota limits (Pl. Br. at 29-30),14 Plaintiffs


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   Plaintiffs argue that the fact that Brazil was less export-oriented and had less production than
South Korea “is a distinction without a difference” since the exports and production for both
Brazil and South Korea exceeded their respective Section 232 quota limits. Pl. Br. at 30-31.
Plaintiffs overlook that the Commission found that, unlike subject imports from South Korea
which approached their quota limit during the POR, subject imports from Brazil remained well
below their quota limit during the POR. Views at 60. Plaintiffs ignore that the Commission also
found that the information available indicated that the quota for Brazil was mostly not filled in
2021 whereas the quota for South Korea was mostly filled in 2021. Id. at 59-60 nn.300 & 305.
The Commission’s findings that Brazil was less export-oriented and had less production than
South Korea are not irrelevant as Plaintiffs mistakenly contend since these findings provided
further indication that subject imports from Brazil were likely to continue having a smaller
presence in the U.S. market well below their quota limits unlike subject imports from South
Korea.

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have not argued much less shown that the Commission’s findings that the Brazilian industry was

less export-oriented and had less production than the South Korean industry were not supported

by substantial evidence. This Court should reject Plaintiffs’ misguided invitation to reweigh the

evidence.

                       b.      Plaintiffs Rely on Cases that Upheld the Commission’s
                               Analysis and Support the Commission’s Exercise of Discretion
                               Not to Cumulate Imports from Brazil in this Case

       In support of its argument that the Commission engaged in an impermissibly circular

analysis in exercising its discretion not to cumulate Brazil, Plaintiffs rely on this Court’s prior

decisions in Neenah, Nucor, and Allegheny Ludlum. Pl. Br. at 22-31. Plaintiffs’ reliance on

these cases is especially misplaced since, in all three instances, this Court affirmed the

Commission’s exercise of its discretion not to cumulate subject imports from some countries

with others in sunset reviews. Nucor, 33 CIT at 166-69, 605 F. Supp. 2d at 1369-71; Allegheny

Ludlum, 30 CIT at 2002-06, 475 F. Supp. 2d at 1378-81; Neenah, 25 CIT 709-711, 155 F. Supp.

2d at 773-74.

       As discussed above, Plaintiffs argue, incorrectly, that the Commission committed “legal

error” by relying “solely” on absolute small volumes in exercising its discretion not to cumulate

Brazil with the other five subject countries. See Pl. Br. at 3, 23. This Court rejected a similar

argument in Allegheny Ludlum in affirming the Commission’s exercise of its discretion not to

cumulate subject imports from all the subject countries in sunset reviews concerning stainless

steel sheet and strip (“SSSS”). 30 CIT at 1999-2007, 475 F. Supp. 2d at 1376-82. In rejecting

plaintiff’s argument that the Commission’s discretionary cumulation analysis was unlawfully

circular, this Court in Allegheny Ludlum emphasized that the Commission’s decision not to

cumulate U.K. subject imports “was not based solely upon the absolute volume of subject



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imports” from the United Kingdom, but also upon evidence that U.K. subject imports declined

each year during the review, that subject imports from the U.K. were concentrated in a niche,

specialty product (i.e., precision strip), and that the sole U.K. producer of SSSS (Outokumpu) did

not add to its production capacity during the review period. Id. at 2003, 475 F. Supp. 2d. at

1379.

        Plaintiffs’ reliance on this Court’s decision in Nucor is equally unpersuasive. In Nucor,

this Court affirmed the Commission’s exercise of its discretion not to cumulate subject imports

from Kazakhstan, Romania, and South Africa with subject imports from China, India, Indonesia,

Taiwan, Thailand, and Ukraine in sunset reviews concerning hot-rolled steel products. 33 CIT at

165-72, 605 F. Supp. 2d at 1369-72. In affirming the Commission’s exercise of its discretion not

to cumulate subject imports from Kazakhstan, Romania, and South Africa, the Court relied on

differences in likely conditions of competition, including corporate affiliations with the largest

domestic producer of hot-rolled steel products, Mittal USA. The principal difference stemmed

from the fact that the Mittal USA relationship with affiliated producers in Kazakhstan,

Romania, and South Africa (“the three Mittal countries”) did not exist for producers in any

of the other subject countries, thus resulting in differences in how the U.S. imports from

these countries were likely to compete in the U.S. market with imports from the other subject

countries. Id. at 168-72, 605 F. Supp. 2d at 1371-72. In Nucor, Mittal USA’s control of both

a significant domestic producer and essentially all production of subject merchandise in the

three Mittal countries meant that the Kazakhstan, Romanian, and South African industries

had a factor restraining likely subject import volumes – the desire not to injure a U.S.

affiliate – that the industries in the other six subject countries did not have. Id. Nucor

supports the Commission’s analysis here, and in fact this Court affirmed the Commission’s



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exercise of discretion not to cumulate the three Mittal countries in that case. Id. at 165-72,

605 F. Supp. 2d at 1369-72.

       In this vein, Plaintiffs reference a footnote in Nucor that actually supports the

Commission’s decision here. See Pl. Br. at 4, 23-25, 27 (citing footnote 12). In that

footnote, the Nucor Court rejected the plaintiffs’ arguments on circularity and found that the

Commission’s discretionary cumulation analysis was supported by substantial evidence.

Nucor, 33 CIT at 168 n.12, 605 F. Supp. 2d at 1370 n.12. Moreover, in the same footnote,

the Nucor Court also cited with approval this Court’s prior decision in Allegheny Ludlum that

affirmed the Commission for relying on myriad factors in exercising its discretion not to

cumulate subject imports just like the Commission did here in exercising its discretion not to

cumulate Brazil. Id. (citing Allegheny Ludlum, 30 CIT at 2002-04, 475 F. Supp. 2d at 1378-79).

       Plaintiff’s reliance on Neenah is similarly misplaced. In Neenah, this Court held that the

Commission did not abuse its discretion by declining to cumulate subject imports from India

with subject imports from Brazil, Canada, and China in sunset reviews for iron metal castings.

25 CIT at 711, 155 F. Supp. 2d at 774. Indeed, the Neenah Court did not find that any particular

practice of the Commission was unlawful in declining to exercise its discretion to cumulate

subject imports from India with the other three subject countries.

       Much like the Plaintiffs here, the plaintiff in Neenah argued that the Commission

“‘conducted an unlawful circular analysis’” in exercising its discretion not to cumulate subject

imports from India with subject imports from Brazil, Canada, and China in sunset reviews for

iron metal castings. Id. at 703, 155 F. Supp. 2d at 767 (quoting Neenah brief). In the end, the

Neenah Court affirmed the Commission’s exercise of its discretion not to cumulate subject

imports from India since the Commission had not “demanded demonstrated, independent



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causation of material injury before any consideration of cumulation.” See Id. at 709, 155 F. Supp.

2d at 772. The reasoning behind the Neenah Court’s rejection of the circularity argument raised

in that case applies equally here. As discussed above, Plaintiffs ignore that it was only after

exercising its discretion not to cumulate Brazil based on differences in likely conditions of

competition that the Commission performed a detailed likely injury analysis for Brazil and

ultimately reached a negative injury determination. Views at 93-101. Accordingly, Plaintiffs’

assertion that the Commission required proof of likely injury for Brazil as a prerequisite for

cumulation should be rejected much like this Court rejected a similar argument by the plaintiff in

Neenah. 25 CIT at 709-10, 155 F. Supp. 2d. at 772.

       As Plaintiffs emphasize (Pl. Br. at 22), the Neenah Court observed that ITC cannot use a

“circular” analysis by citing and relying only on the same factors that would underlie a negative

injury determination (such as lack of significant import volume) as a reason for declining to

cumulate. Neenah, 25 CIT at 709-10, 155 F. Supp. 2d at 772-73. This concern does not apply

here, however. In exercising its discretion not to cumulate Brazil with the other five subject

countries, the Commission nowhere found that the likely volume of subject imports from Brazil

was so low as to not be injurious. Especially because the Commission relied upon the myriad

factors discussed above rather than only small absolute volumes in exercising its discretion not to

cumulate subject imports from Brazil, this case does not even implicate a “circular analysis” of

the type referenced by this Court in Neenah.

       Nonetheless, the Commission is not foreclosed from considering “likely volumes” of

subject imports in exercising its discretion not to cumulate, as Plaintiffs appear to contend. Pl.

Br. at 3, 24, 27-28. As discussed above, neither the statute nor the legislative history provides a

specific list of factors the Commission may or must consider in exercising its discretion in five-



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year reviews whether to cumulate subject imports. See Neenah, 25 CIT at 709, 155 F. Supp. 2d

at 772. Consequently, the Commission’s reviewing courts have given the Commission “wide

latitude” in identifying the relevant factors for discretionary cumulation in sunset reviews. See,

e.g., Allegheny Ludlum, 30 CIT at 2002, 2005, 475 F. Supp. 2d at 1378, 1380 (“{D}iscretionary

cumulation does not preclude the Commission from considering any factors it considers

relevant.”).

        Plaintiffs ignore that the Commission in fact considered the likely volume of subject

imports in exercising its discretion not to cumulate and was affirmed by this Court in the very

cases upon which Plaintiffs rely here. For example, in the discretionary cumulation analysis at

issue on appeal in Neenah, Commissioner Koplan (one of the Commissioners in the majority)

found that “. . . neither the volume nor the price of subject imports of heavy metal castings from

India are likely to significantly change if the counter-vailing duty order is revoked.” 25 CIT at

706, 155 F. Supp. 2d at 769. Commissioner Koplan also found that “. . . unlike subject imports

from India . . . removal of the existing orders covering subject merchandise from China, Brazil,

and Canada would result in substantial changes in the volume of subject imports from those

countries.” Id. at 707, 155 F. Supp. 2d at 770-71. In Neenah, this Court specifically approved

Commissioner Koplan’s “comparative analysis of current and likely {dumping} margins,

volume, and price effects” and therefore affirmed the Commission’s exercise of its discretion not

to cumulate subject imports from India with subject imports from subject imports from Brazil,

Canada, and China. Id. at 706, 155 F. Supp. 2d at 769 (emphasis added).

        Similarly, in Allegheny Ludlum, this Court affirmed the Commission’s exercise of its

discretion not to cumulate U.K. subject imports based on myriad factors, including comparing

likely volumes for the U.K. and other subject countries given “ . . . the fact that {U.K.} import



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volumes dropped [considerably, to a level much lower than] any other subject country during the

years examined in the original investigation, and fell to less than [ ] short tons during the period

of review.” 30 CIT at 2000, 475 F. Supp. 2d at 1377 (citing Commission’s confidential Views in

underlying investigation, available publicly as USITC Pub. 3788, at 19-20 (July 2005)) (as

bracketed in opinion). Likewise, in Nucor, this Court affirmed the Commission’s exercise of its

discretion not to cumulate subject imports from Kazakhstan, Romania, and South Africa with

subject imports from six other countries based on the Commission’s finding that these three

subject countries had a factor restraining likely subject import volumes – the desire not to

injure a U.S. affiliate – that the industries in the other six subject countries did not have.

Nucor, 33 CIT at 168-72, 605 F. Supp. 2d at 1371-72. Accordingly, Plaintiffs’ contention that

the Commission cannot consider likely volumes in its discretionary cumulation analysis is belied

by the very case law upon which they rely.

       In short, there is no merit to Plaintiffs’ argument that the Commission’s discretionary

cumulation analysis was unlawfully circular. As discussed above, this Court has rejected similar

arguments and affirmed the Commission’s exercise of its discretion not to cumulate subject

imports in each of the decisions relied upon by Plaintiffs here. See Id. at 166-69, 605 F. Supp. 2d

at 1369-71; Allegheny Ludlum, 30 CIT at 2002-06, 475 F. Supp. 2d at 1378-81; Neenah, 25 CIT

at 710-11, 155 F. Supp. 2d at 773-74.

       Nor have Plaintiffs provided any authority for their assertion that the Commission was

obliged to explain further why differences in export-orientation and production are relevant to

the purpose of discretionary cumulation in sunset reviews. Pl. Br. at 31. Neither the statutory

language in 19 U.S.C. § 1675a(a)(7) nor the SAA provides any basis for imposing such a

requirement. Moreover, the caselaw, by confirming that the Commission can exercise its



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discretion not to cumulate based on likely differences in conditions of competition, including

differences in export-orientation and production, rebuts the notion that the agency must provide

the type of further explanation advocated by Plaintiffs. Plaintiffs again ignore that both the

Federal Circuit and this Court have affirmed the Commission in prior sunset reviews where the

Commission relied on factors like those it relied upon here in exercising its discretion not to

cumulate subject imports from Brazil, including differences in export-orientation and production.

See, e.g., Nucor, 601 F.3d at 1294, 1296-97 (differences in export-orientation); U.S. Steel, 36

CIT at 1175-68, 856 F. Supp. 2d at 1318, 1322-24 (differences in export-orientation); Nucor, 32

CIT at 1412-14, 594 F. Supp. 2d at 1354-55 (differences in export-orientation and production),

aff’d, 601 F.3d at 1294-97; U.S. Steel Corp., 32 CIT at 835-36, 572 F. Supp. 2d at 1341

(differences in production and capacity utilization); Allegheny Ludlum, 30 CIT at 2002-06, 475

F. Supp. 2d at 1378-81 (differences in production capacity); Domestic Uranium Producers, 25

CIT at 1013-15, 162 F. Supp. 2d at 653-54 (differences in production capacity).

               2.      The Commission Addressed Other Evidence that Plaintiffs Claim Was
                       Ignored

       Plaintiffs are incorrect that the Commission ignored record evidence that detracted from

its finding that the Section 232 absolute quota for Brazil was likely to continue through the

reasonably foreseeable future. Pl. Br. at 36-37. Indeed, the Commission expressly

acknowledged the disagreement among the parties on this very issue and cited to pages in

prehearing briefs submitted by Plaintiff and the other four domestic producers where they

presented arguments that the absolute quota for Brazil was not likely to continue going forward.

Views at 97 & n.487. As the Commission found, however, only the President can alter,

terminate, or replace the absolute quota on Brazil. Id. at 97-98. As the Commission also found,

at the time of the closing of the record in these sunset reviews for CRS in August 2022, the

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Section 232 absolute quota for Brazil had been in place more than four years since May 2018,

and there had been no announcement by the Biden Administration that it was considering

revising or removing the quota on Brazil in the reasonably foreseeable future. Id. at 98.

       Plaintiffs do not challenge any of this evidence on which the Commission relied. Instead,

Plaintiffs would prefer that the Commission had given more weight to evidence that the

government of Brazil was unsuccessfully “putting pressure” on the Administration to have the

Section 232 absolute quota for Brazil removed and evidence that Section 232 absolute quotas for

countries other than Brazil were removed and replaced with less restrictive trade measures. Pl.

Br. at 36. This evidence that Plaintiffs prefer does not render the Commission’s finding that the

Section 232 absolute quota for Brazil was likely to continue through the reasonably foreseeable

future unsupported by substantial evidence. The reasonableness of the Commission’s finding is

especially compelling since the quota for Brazil was in place at the time of the closing of the

record in this case. Views at 97-99. In the end, the fact that the Commission weighed the

conflicting evidence differently from Plaintiffs would have preferred does not mean that the

Commission “ignored” the contradicting evidence. Nor was the Commission required to discuss

each piece of evidence in the record. The Commission is presumed to have considered the full

record, and the fact that it did not explicitly discuss each piece of evidence does not establish that

it “ignored” such evidence. See, e.g., Siemens Energy, Inc. v. United States, 38 CIT 879, 992 F.

Supp. 2d 1315 (2014) (“The Commission need not address every piece of evidence presented by

the parties; absent a showing to the contrary, the court presumes that the Commission has

considered all of the record evidence.”), aff’d, 806 F.3d at 1367.

       Moreover, the mere presence of some evidence on the record that could support an

alternative conclusion in no way renders the Commission’s conclusions as unsupported by



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substantial evidence. Based on its careful assessment of the record evidence, the Commission

reasonably concluded that the Section 232 absolute quota for Brazil, as currently structured and

enforced, likely would continue through the reasonably foreseeable future. Views at 97-99.15

               3.      The Findings of Two Dissenting Commissioners Have No Bearing on
                       the Court’s Review of the Commission’s Findings

       Plaintiffs’ reliance on the dissenting views of two Commissioners is misplaced. See, e.g.,

Pl. Br. at 32-36. That the dissenting Commissioners, this Court, or Plaintiffs, may have weighed

the evidence differently, does not provide grounds to overrule the Commission’s determination.

Indeed, “{a}lthough individual Commissioners reach{} divergent conclusions, ‘{t}he possibility

of drawing two inconsistent conclusions from the evidence does not prevent an administrative

agency’s findings from being supported by substantial evidence.’” Siemens Energy, 806 F. 3d at

1372 (quoting Consolo, 383 U.S. at 620); see also Grupo Indus. Camesa, 85 F.3d at 1582

(“Although {a party} points to evidence supporting the dissenting commissioners’ decision that

the domestic industry was not materially injured, this does not mean that the Commission’s

affirmative determination is unsupported by substantial evidence.”) (citing Consolo, 383 U.S. at

619-20).

       As discussed above, Plaintiffs do not claim that any of the Commission’s factual findings

pertaining to likely differences in conditions of competition are factually in error. For example,

Plaintiffs do not dispute the Commission’s findings that subject imports from Brazil had an

absolute quota unlike subject imports from China, India, Japan, and the United Kingdom. Views

at 59. Nor do Plaintiffs contest the Commission’s findings that the Section 232 absolute quota



15
  Even the dissenting Commissioners, whose views Plaintiffs prefer, did not find that the
absolute quota for Brazil was unlikely to continue through the reasonably foreseeable future. See
Separate and Dissenting Views of Comm’rs Schmidtlein and Stayin, at 1-7 (CR251).

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for South Korea (141,018 short tons) was almost three times larger than the Section 232 absolute

quota for Brazil (57,251 short tons), that subject imports from South Korea maintained a

substantial presence in the U.S. market during the POR unlike subject imports from Brazil, that

the Brazilian CRS industry had less production and was less export-oriented than the South

Korean CRS industry during the POR. Id. at 59-61. Once again, all of these unchallenged

findings concerning differences in likely conditions of competition between subject imports from

Brazil and subject imports from the other five subject countries provide substantial evidence for

the Commission’s exercise of its discretion not to cumulate Brazil with China, India, Japan,

South Korea and the United Kingdom.

       Plaintiffs’ numerous efforts to have the Court compare the dissent’s findings with those

of the Commission (or to ignore the Commission’s findings entirely) is simply another way of

asking the Court to reweigh evidence. See Metallverken Nederland B.V. v. United States, 13 CIT

1013, 1017, 728 F. Supp. 730, 734 (1989) (“In asking the Court to negate a commissioner’s

determination based upon the findings of dissenting commissioners, plaintiffs are, in essence,

asking the Court to reweigh the evidence.”). Plaintiffs’ recitation of the dissent’s findings and

failure to challenge or even acknowledge the Commission’s findings demonstrate their failure to

appreciate the standard of review applicable to this appeal. See Maverick Tube Corp. v. United

States, 2016 WL 703575, at *7 (Ct. Int’l Trade Feb. 22, 2016) (“In the final analysis, the

question is solely whether the agency’s determination is supported by substantial evidence on the

record and is in accordance with law.”), aff’d, 857 F.3d 1353 (Fed. Cir. 2017).

       This Court recently rejected a similar argument by another plaintiff in MTD Products Inc.

v. United States, 2023 WL 2535885 (Ct. Int’l Trade Mar. 16, 2023). Much like the Plaintiffs

here, the plaintiff in MTD Products recited the dissent’s findings in arguing that the



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Commission’s determination was unsupported by substantial evidence. In rejecting plaintiff’s

reliance on the dissent, this Court in MTD Products found that “. . . substantial evidence review

does not permit the court to reweigh the evidence as {plaintiff} proposes.” Id. at *7. The Court

in MTD Products also found that “‘{t}he possibility of drawing two inconsistent conclusions

from the evidence does not prevent an administrative agency’s finding from being supported by

substantial evidence.’” Id. (citing Siemens Energy, 806 F.3d at 1372 and quoting Consolo, 383

U.S. at 620). While opining that the conclusion drawn by the dissent was “supported by the

record,” the Court in MTD Products also found that the “. . . conclusion drawn by the

Commission majority – considering the record as a whole and the evidence that detracts from

that conclusion is also supported by the record.” Id.

               4.     The Commission Did Not Depart from Any “Past Practice” In Its
                      Discretionary Cumulation Analysis

       Plaintiffs claim that the Commission departed from an alleged past “practice” in

exercising its discretion not to cumulate the imports from Brazil with those from the other

subject countries. Plaintiffs, however, fail to identify a specific practice from which the

Commission supposedly departed. See Pl. Br. at 2, 6, 37-41.

       Indeed, Plaintiffs overlook that “there is limited precedential value in sunset reviews

since each case presents unique interactions of the economic variables the Commission

considers.” Ugine-Savoie Imphy v. United States, 26 CIT 851, 863, 248 F. Supp. 2d 1208,

1220 (2002). In Ugine-Savoie, this Court emphasized that “{i}t is difficult to establish agency

practice in sunset reviews since the presence of a specific factor in a prior sunset review is not

dispositive of how a factor is interpreted in the current sunset review.” Id. at 863, 248 F.

Supp. 2d at 1223.




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       Moreover, the four prior determinations cited by Plaintiffs are not indicative of any

applicable “past practice” that would apply here. Rather, two of the four sunset

determinations cited by Plaintiffs involved only one country and therefore cumulation was not

even at issue like it was here. Pl. Br. at 38-39.16 One of the other two sunset determinations

cited by Plaintiffs (Pl. Br. at 38-39) did not even involve Section 232 absolute quotas. The

only cited prior determination involving an absolute quota was factually distinct from this

matter, concerning a different domestic like product, different domestic industry, different

subject countries, and different likely conditions of competition for discretionary cumulation

than those the Commission relied on here in exercising its discretion not to cumulate Brazil.17

At best, a comparison of Steel Wire Rod with the instant review demonstrates the sui generis

nature of each case. See, e.g., Hitachi Metals, Ltd. v. United States, 949 F.3d 710, 718 (Fed. Cir.

2020) (noting that each injury by the Commission is sui generis and “{t}hat the Commission

reached different outcomes in cases with different circumstances does not indicate that the

Commission either committed legal error in the methodology it use{s} in this case or departed

from the mode of analysis it regularly employs”) (quotation omitted); Cleo Inc. v. United States,

501 F.3d 1291, 1299 (Fed. Cir. 2007) (noting that each injury investigation by the Commission is

sui generis and, “{f}or that reason, prior determinations by the Commission with regard to one



16
  The two sunset determinations cited by Plaintiffs that involved only one country where
cumulation was not at issue are: Clad Steel Plate from Japan, Inv. Nos. 731-TA-739 (Fourth
Review), USITC Pub. 4851 (Dec. 2018) and Tin- and Chromium-Coated Steel Sheet from Japan,
Inv. Nos. 731-TA-860 (Third Review), USITC Pub. 4795 (June 2018).
17
  See Carbon and Certain Alloy Steel Wire Rod from Brazil, Indonesia, Mexico, Moldova, and
Trinidad and Tobago, Inv. Nos. 701-TA-417 and 731-TA-953, 957-959, and 961 (Third
Review), USITC Pub. 5100 (Aug. 2020); Non-Oriented Electrical Steel from China, Germany,
Japan, Korea, Sweden, and Taiwan, Inv. Nos. 701-TA-506 and 508 and 731-TA-1238-1243
(Review), USITC Pub. 5140 (Dec. 2020).

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industry typically provide little guidance for later determinations with regard to different

industries”).18

        Moreover, if the “agency practice” that Plaintiffs contend was departed from is that the

Commission failed to exercise its discretion to cumulate despite different likely conditions of

competition, then Plaintiffs’ argument falls short of demonstrating a departure from agency

practice for two additional reasons. First, Plaintiffs overlook the fact that the Commission

consistently has exercised its discretion not to cumulate based upon differences in likely

conditions of competition and been affirmed by this Court and the Federal Circuit.19 Second,

an action by the Commission becomes an “agency practice” only when “a uniform and

established procedure exists that would lead a party, in the absence of notification of change,

reasonably to expect adherence to the established practice or procedure.” Ranchers-Cattlemen

Action Legal Found. v. United States, 23 CIT 861, 884-85, 74 F. Supp. 2d 1353, 1374 (1999).

Plaintiffs cannot establish any reasonable expectation of an established past practice by

pointing to just one prior Commission investigation that involved both cumulation and Section

232 absolute quotas, especially because the Commission has discretion not to cumulate in


18
   We note that the Commission in two other sunset reviews involving steel products has
similarly declined to cumulate imports from Brazil with those from other subject countries. See
Carbon and Alloy Steel Cut-to-Length Plate from Austria, Belgium, Brazil, China, France,
Germany, Italy, Japan, South Africa, South Korea, Taiwan, and Turkey, Inv. Nos. 701-TA-560-
561 & 731-TA-1317-1328 (Review), USITC Pub. 5399, at 60-68 (Jan. 2023); Hot-Rolled Steel
from Australia, Brazil, Japan, Netherlands, Russia, South Korea, Turkey, and the United
Kingdom, Inv. Nos. 701-TA-545-546 and 731-TA-1291-1297 and 731-TA-808 (Fourth Review),
USITC Pub. 5380, at 59-67 (Nov. 2022).
19
   See, e.g., Nucor, 601 F.3d at 1294, 1296-97; U.S. Steel, 36 CIT at 1174-78, 856 F. Supp. 2d
at 1322-24; Nucor, 32 CIT at 1412-14, 594 F. Supp. 2d at 1354-55, aff’d, 601 F.3d at 1294-97;
U.S. Steel Corp., 32 CIT at 835-86, 572 F. Supp. 2d at 1341; Nucor, 32 CIT at 763-65, 569 F.
Supp. 2d at 1342; Allegheny Ludlum, US, 30 CIT at 2002-06, 475 F. Supp. 2d at 1378-81;
Domestic Uranium Producers, 25 CIT at 1013-15, 162 F. Supp. 2d at 653-54; Neenah, 25 CIT
at 710-12, 155 F. Supp. 2d at 773-74.

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sunset reviews, and, as discussed above, has exercised its discretion by declining to cumulate

based upon similar differences in likely conditions of competition among the subject countries

in other prior investigations just as it did here for Brazil.

       This Court rejected a similar argument by the plaintiff in Allegheny Ludlum. There the

plaintiff argued that the Commission had departed from its “past practice” in declining to

exercise its discretion to cumulate subject imports from France. Allegheny Ludlum, 30 CIT at

2003-06, 475 F. Supp. 2d at 1379-81. In affirming the Commission’s exercise of its discretion

not to cumulate subject imports from France, the Court rejected plaintiff’s “past practice”

argument, observing that “{p}ursuant to statutory authority, the Commission has wide latitude

in selecting the types of factors it considers relevant in undertaking its cumulation analysis, and

that {e}ach individual sunset determination does not bind the Commission to use those same

factors in other determinations.” Id. at 2006, 475 F. Supp. 2d at 1381. The Allegheny Ludlum

Court also observed that “the Commission has previously relied on conditions of competition in

its cumulation determination and considered a variety of factors such as whether subject imports

have maintained a postorder presence in the U.S. market” among other factors in exercising its

discretion not to cumulate. Id. at 2006, 475 F. Supp. 2d at 1381. Moreover, the Court in

Allegheny Ludlum rejected plaintiff’s past practice argument since the plaintiff in that case had

only cited “two prior reviews” in support of its losing argument that the Commission had a “past

practice.” Id. at 2006, 475 F. Supp. 2d at 1381.

V.     CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiff’s Motion for Judgment on the

agency record and affirm the Commission’s negative determinations for Brazil in all respects.




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                           Respectfully submitted,

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Dated: June 13, 2023




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                            CERTIFICATE OF COMPLIANCE

       Pursuant to Chambers Procedures 2(B)(1) and (2), I hereby certify that the attached

DEFENDANT UNITED STATES INTERNATIONAL TRADE COMMISSION’S PUBLIC

MEMORANDUM IN OPPOSITION TO PLAINTIFF’S AND PLAINTIFF-

INTERVENORS’ MOTION FOR JUDGMENT ON THE AGENCY RECORD contains

11,132 words, according to the word-count function of the word processing system used to

prepare this brief (Microsoft Word 2010).



Dated: June 13, 2023                               /s/ David A. Goldfine
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